(NH Doecument-1-3—Filed 10/26/23__Page 1 of 25 PagelD: 19

FILED, Clerk of the Supreme Court, 30 Oct 2020, 084693, SEALED

SUPREME COURT OF NEW JERSEY
C-181 September Term 2020

084693
In the Matter of the Civil
Commitment of J.D.,
SVP-668-13. ORDER
sS So
(J.D. - Petitioner) = Za
3S
= =
8
> 3&5
A petition for certification of the judgment in A-005131-17 = 33
Q x

having been submitted to this Court, and the Court having considered t

a

€

same;

It is ORDERED that the petition for certification is denied.

WITNESS, the Honorable Stuart Rabner, Chief Justice, at Trenton, this

26th day of October, 2020.

Pak,

CLERK OF THE SUPREME COURT

wuz 19
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 2 of 25 PagelD: 20

et

State of New Jersey
PHIL MURPHY OFFICE OF THE PUBLIC DEFENDER JOSEPH E. KRAKORA
G Division of Mental Health Advocacy Public Defender
overnor
Alternative Commitment Unit
SHEILA OLIVER 31 Clinton Street, 11% Floor CARL J. HERMAN
Lt Governor Newark, NJ 07102 Directer
Toll Free: (877)285-2844 MICHAEL MANGELS
Tel: (973) 648-3847 Managing Attorney

Fax: (973) 648-7799

July 10, 2020

SUPREME COURT OF NEW JERSEY
Docket 084693
Appellate Docket A-5131-17T5

In the Matter of the Civil
Commitment of J.D.

SVP-668-13

BRIEF IN SUPPORT OF A PETITION FOR CERTIFICATION
ON BEHALF OF APPELLANT/PETITIONER J.D.

Joseph E. Krakora, Public Defender
Office of the Public Defender
Division of Mental Health Advocacy
31 Clinton Street, 11% floor
Newark, NJ 07102

(973) 648-3847

Susan REMIS SILVER

Assistant Deputy Public Defender
Attorney ID 001261984
Susan.Silver@opd.nj.gov

(973) 648-3847

Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 3 of 25 PagelD: 21
"FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

TABLE OF CONTENTS

Statement of the Matter Involved......... ee ee ees 1

Questions Involved... ee ce ee ee ee eee eee 7

Legal Argument... 2... . ee ec ce ee cc eee eee ee ee eee eee ee eens 8
Point I

THE TRIAL COURT ABUSED ITS DISCRETION WHEN IT DID NOT

HOLD A RULE 104 HEARING ON THE RELIABILITY OF THE

STATE’S RISK ASSESSMENT METHOD FOR JUVENILE-ONLY SEX
OFFENDERS 2... cc cc wc www ee te eee eee ee eee eee eee 8

Point II

THE TRIAL COURT ABUSED ITS DISCRETION WHEN IT QUALIFIED

THE TWO STATE DOCTORS AS EXPERTS WHEN BOTH STATE DOCTORS
LACKED ANY SPECIALIZED KNOWLEDGE ON THE SEXUAL

RECIDIVISM RISK OF AN ADULT WHO ONLY SEXUALLY OFFENDED

AS A JUVENILE... . 2. ce ec te tee me ee we tee te ee tee eee es 12
Point III

THE TRIAL COURT ERRED TO QUALIFY THE STATE EXPERTS

WITHOUT ANY PROOF THAT THEY USED A RELIABLE RISK

ASSESSMENT METHOD... 2... cc ccc ce ee we wt we tee tw eww ws 15
Point IV

THE TRIAL COURT VIOLATED J.D.’S DUE PROCESS RIGHTS WHEN

IT FAILED TO RECOGNIZE HE NOW PRESENTED REDUCED SEXUAL
RECIDIVIM RISK BECAUSE HE ONLY OFFENDED AS A JUVENILE....18

Reasons for Granting Certification... .... ee ec eee 20

CONCLUSION... Lc ce ee tt ee we tw ee ee ee ee ee ew eee ee 20

il
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 4 of 25 PagelD: 22
FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

TABLE OF AUTHORITIES
CASES PAGE

Clark v. Safety-Klein Corp., 179 N.J. 318 (2004).............. 14

Daubert v. Merrell Dow Pharm. Inc., 509 U.S. 579 (1993)...11, 15

Frye v. United States, 293 F. 1013 (D.C. Div. 1923)........... 11

Graham v... Flonida;, 560 U.S. 46 (2010).....8...ssgeee.aeaee 18, 19

In re Accutane Litigation, 234 N.J. 340 (2018)....11, 12, 15, 17

In the Interest of C.K., 233 N.J. 44 (2018)........... 18, 19, 20

In re Civil Commitment of R.F., 217 N.J. 152 (2014)........ 8, 10

In re Commitment of R.S., 339 N.J. Super. 507 (App. Div.

2001), mifizmed, T73 NiJ. 134 42002) . 2. sme ss cme. esd maewves 10
GSMO ETENE, 521 U.S. 346 (1997)... eee eee eee e ees 18
bh S67 U.S. 460 (2012) ...6 2. etic emcees 18, 19
Montgomery v. Louisiana, 136 S.Ct. 718 (2016)................. 18
ee U.S. 551 (2005)... cece cece eee eeeeee 18, 19
State v. Chun, 194 N.J. 54 (2008) ....... cee ce eee 11
State v. Zuper, 227 N.J. 422 (2017)...............024. 18, 19, 20
Townsend v. Pierre, 221 N.J. 36 (2015)... ee we ew 9, 11
STATUTES
Wud. A. SOSF 27. 20 SE BO cp ieceecesenee ep ee eee ee teas 7, 8, 19
NeJSiwAw SOTEH257.S1.. 6 kee abe Dee thee heme EEC ee ee ee ee he ee ee 12

COURT RULES
Ne J oRetes LOM: ste che eh a be cc eee ee twee ree we eee ees ween bebe 8, 9, LO

IN SOR Bre, MOQ ie ate et eee eee eee eee eee pee ee eee eee ees ll, 12

iil
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 5 of 25 PagelD: 23

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

STATEMENT OF THE MATTER INVOLVED
This case involves the State’s failure to use an assessment
method that can reliably assess the sexual recidivism risk of an

adult, like J.D., @ahowonl

J.D. is a 27-year-old man whose only sexual adjudication
was at age 15 when he sexually assaulted 1l-year-old C.G.. (1T
9-4 to 10-5)1 He got 3 years of probation at New Point program,
and when he violated probation, he went to the Juvenile Justice
Commission and then the ADTC. (Aal-3, 7T 34-15 to 19, 80-3 to 8)

(on July 30, 2014, 3:7 sce, omnes
‘case was dismissed when his\/PCR case causedydismissal éFuHTs
TTI aa esengesnee ET

pfatiery (Aa4-44). Pee eS es ee

(St Che yRRISeharge was aiiswissedy (2T 33-19 to 36-6, 58-10 to
59-11) On March Ly, 2016, he was againtempprarily committeds

oa com (we49-59, 82) MERI,
EE a (2 21-15)

' 1T is the transcript of the plea hearing, dated 11/6/2009;
2T is the transcript of the plea hearing, dated 1/25/2016;

3T is J.D.’s temporary commitment hearing, dated 2/25/2016;

4T is J.D.’s sentencing hearing, dated 2/29/2016;

5T is J.D.’s supplemental temporary hearing, dated 3/1/2016;
6T is the transcript for the Rule 104 motion, dated 1/24/2018;
7T is the initial commitment transcript, dated 10/30/2018;

8T is the initial commitment transcript, dated 10/31/2018;

9T is the initial commitment transcript, dated 11/1/2018; and
10T is the trial court’s bench decision, dated 1/28/2019.

Aa refers to appellant J.D.’s Appellate Division appendix.

Pa refers to petitioner J.D.’s appendix filed with this Court.
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 6 of 25 PagelD: 24

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

OF a Ned bagi A BOND Bel aE Bet on risk assessment,

said adult tools and risk factors assess internal traits that

are “not relevant” to asses

=

generally offend due to external factors. (8T 133-17 to 24) _He
said a behavioral analysis is needed to assess if a juvenile’s

sex offense was due to external motives that are likely to

resolve. (8T 133-14 to 17, 164-1 to 11) Gaiters teint
Etna elaine atin debating meme” if
pe Te icdimnmiamnatmnie anes.

Dr. Caldwell said accurate recidivism assessments must be

anchored in the base rate, the frequency of recidivism in a

population. (8T 142-18 to 22, 210-3 to 8)  JjymmmtitiNmmmhcstnanmpessd: —
eS Se ae en
~<a italien al sbi aC - (8T 140-2 to 141-21)
Dr. Harris and Dr. Yeoman refused to apply the low sexual
recidivism rate of juvenile-only sex offenders, and they called.
J.D. an “outlier.” (7T 73-4 to 6, 9T 54-12 to 20, 73-4 to 6)
fpr: ices SS eed C
an “oO does not
Meese recidivism. (8T 291-21 to 212-21) He said J.D.’s
conduct with his father at age 14 was not an “outlier” event and
showed no “internal trait,” but it was due to his “maladaptive
relationship with his father,” and his offense at age 15 with

C.D. was a “typical juvenile sexual assault.” (8T 143-22 to 25)
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 7 of 25 PagelD: 25

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

He said sexually abused children often abuse other children and
“behave in pathological ways until they get old enough to figure
out those were pathological models” and-then use “appropriate

social skills.” (8T 145-15 to 20, 160-12 to 20, 164-17 to 20)

Mould only commit whe

“sexually violent with everyone .. every chance hal Got .. right up.
quntamguseiserore his 18"" birthday.” (81 75-4 to 5, 1) —oammh

a EE ee eee

“sexually assaulted anyone” or been “physical violent” since age

"15 e(8T9R0A—6=tOnTynk50-7eESESN 21423 to 10) Rather, o plas’
_— ~

re ee ee tN
woiust “a typical juvenile sex offender,” and “it’s.not a close

wall.” (8T 178-19 to 21) He also said research shows the only),

Te
a = <7 7 ea 3 ie = i‘. any E .
webiableUrisk factor to predict sexual recidivism for @uvenile-
LO or Cri (8T 146-15 to 147-12)
Dr. Fabian, J.D.’s expert psychologist, agreed that family
dynamics and development must be considered to assess risk of a
juvenile-only offender. (7T 156-13 to 15) He said J.D.’s sexual

abuse as a child was very relevant to him sexually abusing other
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 8 of 25 PagelD: 26

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

children. (8T 52-5 to 16) Dr. Fabian stated that J.D. was only
3 to 5 years old when his teenage male cousin forced objects in
his rectum. (7T 156-16 to 157-9, 209-13 to 15, 171-14 to 19) Dr.
Fabian said children very often mimic their own sex abuse, and
J.D.’s early offending mimicked his abuse. (8T 4-11 to 19)

Dr. Fabian agreed that a proper risk assessment must
consider the low recidivism rate of juvenile-only sex offenders.
(8T 40-12 to 16) He considered the low recidivism rate and found
J.D. was not highly likely to sexually reoffend. (8T 44-2 to 3)

Dr. Harris, the State expert, said J.D. was sexually abused
and when 4 or 5, his male cousin forced objects “in his butt.”
(7T 113-20 to 22) The record does not support the appellate
court’s claim that J.D. admitted to 10 to 15 victims. (Pa4-5) As
Dr. Harris testified, J.D. had 5 nonconsensual sexual contacts.

First, he said J.D. was 6 when “he forced a boy to touch
his private parts and... stick things up his butt.” (7T 36-22 to
25) Dr. Harris said J.D. at age 6 “clearly” had sexual desires,
but when asked if a 6-year-old can have a sex drive, he said
“I’m not sure what .. sex drive means.” (7T 113-23 to 115-1)

Second, Dr. Harris said J.D. was 9 when he put forks and —
spoons in his sister’s vagina. (7T 37-6 to 15, 81-23 to 82-2)

Third, Dr. Harris said J.D. admitted that at age 12, he had
oral sex with 11-year-old L.P. and dared L.P. “to put a battery

up his rectum.” (7T 29-18 to 30-1, 81-5 to 10; 110=23 to 111-6)
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 9 of 25 PagelD: 27

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED
Fourth, Dr. Harris said J.D. was 14 when he held a knife

and “forced his father to fellate him.” (7T 31-25 to 32-1)
Fifth, Dr. Harris said J.D.’s only adjudication was forcing
sex on C.G. at age 15. (1T 9-18 to 25, 7T 28-1 to 9, 84-4 to 6)
Dr. Caldwell said J.D.’s offenses must be understood in the
context of his developmental history and environment. (8T 164-1
to 8) He said Dr. Harris falsely assumed J.D.’s childhood acts
resulted from “deviant sexual arousal,” but “the professional
consensus” is that most juvenile sex offenders are motivated by
“situational variables like .. being abused” or being ina
“chaotic family” that violates interpersonal boundaries. (8T
199-17 to 200-5) He said experts agree these situational factors

au

are “temporary,” and as a juvenile matures, “the vast majority”
completely stop their sexual misconduct. (8T 200-1 to 201-4)
Dr. Caldwell said J.D.’s childhood was filled with “severe
abuse and violence in the home.” (8T 83-21 to 84-12) His father
called him “an abomination” for being gay and tried “to convert

ws

him to heterosexuality,” causing such “extreme distress” J.D.
“seriously considered suicide.” (8T 86-24 to 87-6) J.D. was
resentful and angry and “believed for a period .. that if he
could force his father to have a homosexual experience, he would
. be more accepting...” (8T 88-7 to 12) He said J.D. has matured,
now knows he was wrong and would not repeat his conduct. (8T 88-

16 to 90-2) The trial court never analyzed whether J.D.’s fluid

and evolving nature as a juvenile now made him less likely to
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 10 of 25 PagelD: 28

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

reoffend as an adult. The trial court ignored the science that
shows a vast majority of juvenile sex offenders never sexually
offend as adults. (8T 117-14 to 17, 133-9 to 13, 10T 89-6 to 17)
The trial and appellate court said Dr. Harris was an expert
in other hearings and said Dr. Yeoman was a psychologist (10T
43-11 to 12, 57-17 to 19, PalQ), but neither court recognized
this case needed specialized expertise because different risk
factors determine sexual recidivism risk of a juvenile-only sex
offender. (8T 132-25 to 133-21, 137-16 to 138-21, 227-13 to 20)
Neither State doctor had this expertise. Dr. Harris was
unfamiliar with basic concepts in assessing juvenile-only sex
offenders. (8T 202-9 to 204-14) Dr. Yeoman admitted this was the
first time he ever assessed a juvenile-only sex offender. (9T
11-2 to 21) He falsely claimed no research existed on juvenile-

only sex offender risk when literally hundreds of such studies

“Rnowledge.” (9T 13-1 to 5) @dennenqeeeepemeeneiiismeeeel cee

octors who ac

the © 6) iidatiitnienentnniiaatinintiass 2 oii ts 55 ical Rtanin attains — i a

Reliant iealase ting (7f 198=5 to 11, 9T 13=1 to 4)
“TP anpeeerininnne ee nN GUL ee II,

—~asacnpenee nn 0 to 14, 8T 14-
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 11 of 25 PagelD: 29

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

18 to 25, 25-21 to 23, 45-24 to 46-2, 89-6 to 90-4, 132-12 to
19, 148-5 to 14, 9T 104-19 to 24) The record shows J.D. has not
engaged in any sexual misconduct, criminal behavior or physical
violence since he was age 15. (8T 213-25 to 214-10, 9T 105-15 to
106-1) The trial court committed him without considering his
substantially reduced risk now he matured into adulthood.

The trial court simply adopted the State’s deeply flawed
risk analysis without determining whether the State’s assessment
method is reliable to evaluate recidivism risk of a juvenile-
only offender like J.D.. The trial court never made fact-
findings on the reliability of State’s assessment method that it
then used to subject J.D. to possibly life-long SVPA commitment.

Questions Presented

idual can be committed under the Sexually

~ Violent Predator Ret. N.J.S.A. 30:4-27.24 et sed eerove

2. Whether the State doctors could testify as experts without
expertise in assessing the sexual recidivism risk of

hether ®he trial court engaged in legal error when it
aopisted an incorrect legal standard in denying J.D. a
pretrial hearing under N.J.R.E. 104 on the reliability of
the State’s method for assessing the sexual recidivism risk
of juvenile-only sex offenders; and

Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 12 of 25 PagelD: 30

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED
Point I

THE TRIAL COURT ABUSED ITS DISCRETION WHEN IT DID NOT HOLD

A RULE 104 HEARING ON THE RELIABILITY OF THE STATE’S RISK

ASSESSMENT METHOD FOR JUVENILE-ONLY SEX OFFENDERS.

The assumption of every commitment under the Sexually
Violent Predator Act, N.J.S.A. 30:4-27.24 et seg., is that the
State has a risk assessment method that works and that can give

a reliable finding on whether a person is “highly likely to

sexually reoffend.” In re Civil Commitment of R.F., 217 N.J.

152, 173 (2014). But the State never proved it had a reliable
method to assess the risk of a juvenile-only offender like J.D..

J.D. moved for a hearing under N.J.R.E. 104 to challenge
the admissibility of the State’s risk assessment method for
juvenile-only sex offenders. (Aa83-84) J.D. filed certifications
from three renowned experts in sex offender risk assessment, Dr.
Hart (Aa151-154), Dr. Prentky (Aa245-254), and Dr. Caldwell
(Aa293-302) to proffer their testimony. SS ey
(State’s assessment method improperly used adult risk factors
that are irrelevant to assess J.D.'s recidivism risk because he.

sonly offended as a juvenile? (Aal52-153, 246-253, 295-301)

The State experts relied on J.D.’s experts when they
assessed J.D. (Aa317-321, 576, 635) Dr. Hart developed the SVR-
20 that Dr. Yeoman, the State psychologist, used to assess his
risk. (Aal52, 9T 11-25 to 12-2) Drs. Prentky and Caldwell wrote

articles Dr. Yeoman cited to assess J.D. (Aa285-292, 641)

es to assess Vo Tt
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 13 of 25 PagelD: 31

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

sex offenders. (Aa294) Dr. Harris, the State’s expert, even
asked Dr. Caldwell for advice on how to assess J.D.’s risk, but
Dr. Caldwell said he misunderstood his advice and evaluated J.D.
using an approach #Wilfhene—Scientiiie basisy” (Aa299-301).

The trial court’s denial of the Rule 104 hearing deprived
J.D. of any opportunity to present Drs. Hart, Prentky, and
Caldwell at a pretrial hearing. (Aa85) These experts questioned
the State doctors’ expertise and sharply criticized their
methods to diagnose J.D. and assess his risk to reoffend.

wihe trial court misstatea the Law when it held that Rule

104 hearings are never available to challenge the admissibility
of evidence and never available before @owitness testifies: (6T
20-14 to 25, 22-2 to 23-6, 24-9 to 12) Jnetacty Bule 104 is
designed to,offer prétrial hearings on evidencesadmissibility .

In Townsend v. Pierre, 221 N.J. 36 (2015), this Court held

“N.J.R.E. 104 prescribes a procedure by which a trial court may
‘assess the soundness of the proffered methodology and the
qualifications of the expert.’” Id., at 54 n. 5 (cites omitted).
The Appellate Division agreed that “the better practice is
to address the admissibility of an expert’s testimony at such a
hearing,” but said “The decision whether to conduct a Rule 104
hearing is discretionary.” (Pa8) This falsely assumed that the
trial court applied the correct legal standard to J.D.’s Rule

104 motion and that it had ruled on the merits of J.D.’s motion.
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 14 of 25 PagelD: 32

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

tit correet

dittnticiiein i. The trial court’s

misunderstanding of law prevented J.D. from having any pretrial

hearing on the admissibility of the State’s assessment method,
and even at J.D.’s trial, the trial court never ruled on the
admissibility of the State’s method to assess his risk.

J.D. was harmed by the denial of his Rule 104 motion
because appellate courts grant de novo review of scientific

evidence admitted in a Rule 104 hearing, In re Commitment of

R.S., 339 N.J. Super. 507, 531 (App. Div. 2001), affirmed, 173
N.J. 134 (2002), but defer to fact-finding at trial. R.F., 217
N.J. at 174. The trial court simply accepted the State doctors’
testimony without examining the reliability of their assessment

methods, and the Appellate Division deferred to its findings.

a nea eat NLT nha I

eS 5 ETT

ontiens dSinee ie Opiate aT eee

qatar nig nmemicmminmene U2 trial court
erred to deny a Rule 104 hearing to address the State’s invalid

assessment methods and then failed to correct the matter because

the trial judge never addressed the reliability (or lack of

10
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 15 of 25 PagelD: 33

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

reliability) of the State’s risk assessment method at trial.

nie: ce B. Nell ah.
ee ee ae le

ae its burden to ‘clearly establish’... [it] .. meets .. a standard of
general acceptance” with a “‘sufficient scientific basis to

produce uniform and reasonably reliable results.’” State v.

Chun, 194 N.J., 54, 91 (2008), cert. denied, 555 U.S. 825

S

Chun, 194 N.J. at 91. Nor did the State show that its approach

< was accepted by the expert community. @KUS"DSaTENShoildigranr
re ine whether the

(

un CMe rT

234 2 340,

11
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 16 of 25 PagelD: 34

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED
POINT II

THE TRIAL COURT ABUSED ITS DISCRETION WHEN IT QUALIFIED THE

TWO STATE DOCTORS AS EXPERTS WHEN BOTH STATE DOCTORS LACKED

ANY SPECIALIZED KNOWLEDGE ON THE SEXUAL RECIDIVISM RISK OF

AN ADULT WHO ONLY SEXUALLY OFFENDED AS A JUVENILE.

A SVPA commitment needs expert testimony. N.J.S.A. 30:4-
27.31. But the State experts lacked relevant expertise to
assess J.D.’s recidivism risk. Dr. Harris and Dr. Yeoman did
not meet N.J.R.E. 702 requirements because they lacked

“sufficient expertise to offer the intended testimony.” In re

Accutane Litigation, 234 N.J. 340, 349 (2018). Neither doctor

had “knowledge, skill, experience, training or education,”
N.J.R.E. 702, to assess the risk of a juvenile-only offender.
Dr. Harris wrote no publications or articles on juvenile
sex offenders. (7T 14-10 to 12) He gave no indication that he
ever received training to assess risk of a juvenile-only sex
offender like J.D.. When Dr. Harris was asked about his
training, he only gave a nonresponsive answer that he had worked
with those with borderline personality disorder. (7T 15-8 to 11)
Dr. Harris admitted that he did no research on “any aspect
of juvenile sex offenders” (7T 15-25 to 16-5), and he was not
familiar with relevant research. Dr. Caldwell said “research
over the last decade or so” made clear the “dynamics that
produce sexual misconduct” Mipawjuvend@e=enlly sex offender!’ (8T
133-9 to 13) Dr. Harris had no familiarity with that research.

Dr. Harris only said “30-plus years ago,” he did a hospital

12
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 17 of 25 PagelD: 35

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

rotation on adolescents. (7T 15-20 to 24) That rotation gave no
expertise to assess J.D., an adult who offended as a juvenile.

Dr. Harris showed a lack of expertise when he needed to ask
Dr. Caldwell, J.D.’s expert, how to assess J.D.’s risk. (8T 202-
9 to 22) Dr. Caldwell said Dr. Harris asked basic questions like
“what risk factors” apply and “basic questions” on the research.
(8T 202-11 to 22, 204-11 to 14) Dr. Caldwell said Dr. Harris
demonstrated “he is not familiar with what’s acceptable in terms
of evaluating juvenile-only sex offenders.” (8T 202-2 to 6)

ate 1a ema ent OO nat eT INR iy ing i i

that this case required experts who had specialized knowledge on

assessing sexual recidivism risk of juvenile-only sex offenders.

Cee ee (OT 11-12 to 21) ee

pene st 9-1 to 19) J.D.’s

ert

13
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 18 of 25-PagelD: 36

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

of studies” exist on eOiesvemt sexual recidivism risk factors for
“adults whose last offense was as a juvenile.” (8T 181-6 to 14)
The trial court even applied the wrong legal standard when
it held Dr. Yeoman’s lack of “adequate knowledge” did not bar
him from offering expert testimony. (9T 12-25 to 13-5) The trial
court engaged in legal error when it assumed that Dr. Yeoman
could testify as an expert even without “adequate knowledge.”
(Mieitrial court erred when Gteneld that Dr. Harris could
testify as an expert because he was a psychiatrist (7T 19-5 to
11) and that Dr. Yeoman could testify as an expert because he
was a psychologist. (9T 12-25 to 13-10) As this Court held in

Clark v. Safety-Klein Corp., 179 N.J. 318 (2004), a witness’

expert qualification does not depend on whether he has “a
professional license or degree” but whether he has “requisite
specialized knowledge, training or experience...” Id. at 337.
ShestTLalmeeurelerredlte allow!DE Harris and Dr. Yeoman to
testify on an issue that Seated the scope of their expertise.

wnen

een ao bearing to

ers». now face indefi

14
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 19 of 25 PagelD: 37

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

POINT III

THE TRIAL COURT ERRED TO QUALIFY THE STATE EXPERTS WITHOUT
ANY PROOF THAT THEY USED A RELIABLE RISK ASSESSMENT METHOD.

This Court in Accutane held a trial court must only admit

expert testimony that “rests on a reliable foundation .. based on

valid scientific principles.” 234 N.J. at 384 quoting pauber:

OQ) Merrell] Dow PHARM!) “509°TNSies 79000983 The State failed

to show that its experts used a reliable risk assessment method.
The Accutane Court adopted the Daubert factors for courts
to consider when ruling on admissibility of expert testimony:
1. Whether a scientific method can be or has been tested;
2. Whether a scientific method has been peer-reviewed;

3. Whether there is a known or potential error rate and
whether standards control the method’s operation; and

4. Whether the expert community accepts the method.

234 .N.J. at 384, CA eras SST ee
Te en ENESTe

Dr. Harris offered no research to validate his assessment
method. (7T 16-3 to 5) He had no information on his error rate.
(7T 11-14 to 12-3) Dr. Harris was also unfamiliar with how
professionals assess recidivism risk of juvenile-only sex
offenders. When asked if a risk assessment method existed, he

said, “No .. that’s the problem.” (7T 70-23 to 71-3) This is not

ot 21) true, Lea ie: ine”

15
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 20 of 25 PagelD: 38

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

1 bo . (8T
199-20 to 201-1) He said examiners must assess if the juvenile’s
sex offending was due to his immature brain characteristics that
will resolve. (8T 160-24 to 162-11, 199-20 to 200-12) Dr. Harris
did no behavioral analysis to assess J.D.. (8T 209-10 to 210-25)

Dr. Caldwell said a juvenile-only sex offender risk
assessment must also be informed by the very low recidivism base
rate. (8T 210-3 to 12) Dr. Harris did not ground his assessment
on the low base rate. (8T 209-10 to 210-14) Instead, he created
an “outlier” theory based on a misunderstanding of the advice
Dr. Caldwell gave him. (7T 73-6 to 74-6) Dr. Caldwell said J.D
had no outlier conduct, and Dr. Harris had no “scientific basis”
to ignore the low base rate for juvenile-only offenders. (8T
178-19 to 21, 212-6 to 21) He also said inter-familial offenders
like J.D. show lower sexual recidivism. (8T 143-2 to 14)

Dr. Caldwell said Dr. Harris’ unproven trajectory of life
theory falsely assumed that J.D. offended “through two stages of
development” due to sexual conduct at ages 6, 9, 10 and “into
his teens” (7T 59-1 to 60-11), but the research shows that only
those who offend as both a juvenile and an adult have higher
sexual recidivism risk. (8T 196-1 to 198-1) J.D. does not fit

that pattern since he last offended at age 15. (8T 101-6 to 7)

16
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 21 of 25 PagelD: 39

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

Dr. Harris failed the Dacutane expert testimony standard
because he lacked specialized knowledge on juvenile-only sex
offender risk, used an untested method unsupported by research,
relied on unproven “outlier” and “trajectory of life” theories,
lacked any track record for reliability, and used a method with
no acceptance by professionals in the field. Accutane, 234 N.J.
at 384, (7T 11-14 to 12-3, 8T 197-1 to 20, 202-2 to 6, 209-10 to
211-24). eg ee ee hen it failed Bo
strike Dr. Harris’ testimony as unreliable and inadmissible.

Dr. Yeoman, the State expert psychologist, used the same
unproven “outlier” and “trajectory of life” theories, erred by
ignoring the low recidivism base rate and by applying adult risk
factors with no relevance to juvenile-only offenders like J.D..

(9T 35-3 to 6, 73-1 to 6, 76-21 to 25) He gave no scientific

basis to support his approach. Qa cce
OTe tt ing Dr. Yeoman’s testimony that was not

based on sound scientific principals and had no empirical basis.
The trial court abused its discretion when it failed to
Strike Dr. Harris’ and Dr. Yeoman’s testimony because neither
doctor had any scientific basis to assume J.D. was “an outlier,”
they had no evidence to assume J.D.’s life trajectory showed
high risk, no basis to assume juvenile-only sex offender risk
Sabor and recidivism rates do not apply to J.D., and no basis

to assume he could be assessed as if he offended as an adult.

17
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 22 of 25 PagelD: 40

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

POINT IV

Fisk. geThe trial co

+

cesses oe ak sentana aa (8T 140-2 to 141-21) @VpNaEHr
‘meee an

Louisiana, 1365.6 ieesiiMiGriinamRSa201 6) jutielelummemnes 2eaeame.,
a

(201.0) 5 ma icencan Raa ieee DER

Interest of C.K., 233 N.J. 44, 69-70 (2018); State v. Zuper,

227 N.J. 422, 429 (2017). ja ua ten

18
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 23 of 25 PagelD: 41

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

Cpe TTT pe nee pasate aii

These cases rest on scientific research directly relevant
wv

to the risk analysis required in the Sexually Violent Predator

Act, N.J.S.A. 30:4-27.24 et seq., Ghat Girects a trial courts

cciinaeeeaarnammnoas iNT oY offender is now Less adap

egg iikely to sexualdy reoffend once they Mature, igipQ dul i sh

age -creahigaves, CDOT ed geieemmentaenemenmmenancemmmnnemnea:

less likely to reoffend now that he has matured. The trial
judge never squared the fact that 3-5% of juvenile sex offenders
reoffend (8T 140-2 to 141-21) with finding J.D., who offended at
age 15, is somehow “highly likely” to reoffend. (10T 103-1 to 9)
The trial court claimed that the juvenile brain cases are ©
Mnot..applicablesinethewsvP contexty which require 2znnualbereriews i?
(10T 9-5 to 12-7) But pean 5 peeeiemeeicmieines mene
ptxialicoust committed J.D. based on his past conduct at age 14
or 15 and never addressed his maturation into adulthood. By
adopting a dismissive approach to the science, the trial court
evaded its responsibility to consider whether J.D. offended sf

juvenile for reasons that resolved now that he is an adult.

In In re C.K., 233 N.J. 44 (2018), @ Mageatoier meeps

ns isk. Id. at 68-

70. It is now time to apply this analysis to SVPA commitments.

19
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 24 of 25 PagelD: 42

FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED
Reasons for Granting Certification

J.D. requests review because the trial court ruled on his
sexual recidivism risk without incorporating the undisputed
scientific knowledge that juveniles have immature brains that
often cause them to act impulsively and recklessly, but they
generally stop their misconduct once they mature into adults.

This Court has already held that those who offend as
juveniles must be viewed as categorically different from adults
in sentencing and Megan Law decisions. In re C.K., 233 N.J. at

469-70; State v. Zuper, 227 N.J. at 429. It is time to extend

this holding to juvenile-only sex offenders who face commitment.

Review is also necessary to ensure only qualified experts
who use reliable risk assessment methods can testify on the
sexual recidivism risk of a juvenile-only sex offender. This
Court should grant review to direct the trial courts to require
that the State prove its assessment method can accurately and
reliably assess recidivism risk of juvenile-only sex offenders.

Conclusion

Based on the above, J.D. respectfully requests that this

Court grant his Petition for Certification.
Respectfully submitted,

Joseph E. Krakora
Counsel for J.D.

By: Quan Remis Milver

Susan Remis Silver
Assistant Deputy Public Defender
Attorney ID 001261984

Dated: July 10, 2020

20
Case 2:23-cv-21522-JXN Document 1-3 Filed 10/26/23 Page 25 of 25 PagelD: 43
FILED, Clerk of the Supreme Court, 22 Jul 2020, 084693, SEALED

Certification

I certify that this Petition for Certification presents a
substantial issue and is being filed in good faith and not for
purposes of delay.

Susan Remis Silver
July 10, 2020 Assistant Deputy Public Defender

21
